 Fill in this information to identify the Fill in this information to identify the case:
 Debtor 1    Brian Robert Walker


 Debtor 2    Seanna Christina Walker fka Seanna Christina Janes


 Debtor 2

 United States Bankruptcy Court for the MIDDLE District of Pennsylvania


 Case number 17-03477 HWV



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                             12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


  Name of creditor: Lakeview Loan Servicing LLC                                            Court claim no. (if known): 8-1


  Last 4 digits of any number you use to                                                   Date of payment change:
  identify the debtor’s account: 6288                                                      Must be at least 21 days after date           12/01/2019*
                                                                                           of this notice

                                                                                           New total payment:                        $575.43
                                                                                           Principal, interest, and escrow, if any
   Part 1: Escrow Account Payment Adjustment

   1.    Will there be a change in the debtor’s escrow account payment?
         
          No
         Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                  the basis for the change. If a statement is not attached, explain why:


                  Current escrow payment: $13 0. 61                                   New escrow payment:              $ 127.17



        Part 2:   Mortgage Payment Adjustment


   2.    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the
         debtor's variable-rate account?
         No
         
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                  attached, explain why:


                  Current interest rate:                                  %           New interest rate:                                %

                  Current principal and interest payment: $                         New principal and interest payment: $


    Part 3:         Other Payment Change

   3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
         No
         
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)

                  Reason for change:                                                                                                             _

                  Current mortgage payment: $                                         New mortgage payment: $

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 Debtor(s)             Brian Robert Walker, Seanna Christina W alker                   Case number (if known) 17-03477 HWV
                       First Name     Middle Name          Last Name




  Part 4:             Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

          
           I am the creditor.

          
           I am the creditor’s authorized agent.



  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
  knowledge, information, and reasonable belief.



 /s/${s:1:y:_______________________________}
      Rebecca A. Solarz, Esq.                                                                Date     ${datefield:1:y:____________}
                                                                                                     08/16/2022
          Signature
 Print:



  Title     Attorney for Creditor_____


  Company                 KML Law Group, P.C.__________________________


  Address                 701          Market Street, Suite 5000______________
                          Number                Street
                         Philadelphia,                                     PA      19106
                          City                                             State      ZIP Code



  Contact phone           (215) 627–1322                        Email    bkgroup@kmllawgroup.com



*In instances where the borrower has been harmed due to a missed/late payment change notice, Lakeview Loan
Servicing, LLC, will provide a credit to the borrower for each payment that came due that was affected by
the missed/late payment change notice. This notice is for the period from December 1, 2019 through
November 1, 2020.




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